                   UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                         WESTERN DIVISION

                          NO. 5:14-CR-240-BR

UNITED STATES OF AMERICA            )
                                    )
          v.                        )         ORDER
                                    )
WILLIAM SCOTT DAVIS, JR.            )

     Upon motion of the United States and for good cause shown,

and consented to by defense counsel, it is hereby ORDERED that

defendant’s conditions of detention be modified to prohibit the

defendant from any further attempted contact or correspondence

with the alleged victims in this matter, Melanie Shekita, Michelle

Savage, and Sydney Batch.    This order shall remain in effect unless

and until modified by order of this Court.

     This 14 November 2017.




                            __________________________________
                                        W. Earl Britt
                                        Senior U.S. District Judge




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